    Case: 1:21-cv-06546 Document #: 48 Filed: 05/06/22 Page 1 of 2 PageID #:450




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,
                                                  Case No. 21-cv-06546
                   Plaintiff,

        v.                                        Hon. John Robert Blakey

 VINTAGE BRAND, LLC,                              JURY TRIAL DEMANDED

                   Defendant.

                                   NOTICE OF MOTION

       PLEASE TAKE NOTICE that on May 19, 2022, at 11:00 a.m., or as soon thereafter as

counsel may be heard, we shall appear before the Honorable John R. Blakey, or any judge sitting

in his stead in the Courtroom usually occupied by him, in Room 1203 of the United States District

Court, 219 S. Dearborn Street, Chicago, Illinois, 60604 and then and there present Plaintiff’s

Motion to Strike Certain Affirmative Defenses Pursuant to Fed. R. Civ. P. 12(f), a copy of

which is hereby served upon you.

Dated: May 6, 2022
                                                    Respectfully submitted,

                                                    THE BOARD OF TRUSTEES FOR THE
                                                    UNIVERSITY OF ILLINOIS

                                                    By: /s/ Jeffrey J. Catalano
                                                         One of Its Attorneys

                                                    Jeffrey J. Catalano
                                                    Andrew L. Goldstein
                                                    D. Richard Self
                                                    Freeborn & Peters LLP
                                                    311 South Wacker Drive
                                                    Suite 3000
                                                    Chicago, IL 60606
                                                    312.360.6000
    Case: 1:21-cv-06546 Document #: 48 Filed: 05/06/22 Page 2 of 2 PageID #:451




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of May, 2022, that the above and foregoing was filed

electronically with the Clerk of the Court using the CM/ECF system, which sent notification to all

ECF registrants that are counsel of record for this matter.


                                                  By: /s/ Jeffrey J. Catalano




                                                -2-
